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                                                                  DISC-013085
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End Item ADC:




                                                                  DISC-013086
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                                                                  DISC-013087
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Foreign Military Sales:

This lot has not been sold as FMS.

 Additional Information:




                                                                  DISC-013088
